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                                                                                     United States Courts
                                                                                   Southern District of Texas
                                                                                            FILED
                           UNITED STATES DISTRICT COURT                              November 24, 2020
                            SOUTHERN DISTRICT OF TEXAS                                          
                                HOUSTON DIVISION                                David J. Bradley, Clerk of Court


IN THE MATTER OF THE                           §
COMPLAINT OF OIL MOP LLC                       §
D/B/A OMI ENVIRONMENTAL                        §
SOLUTIONS, OWNER OF                            §
MOTOBOAT, HULL ID. NO.                         § CIVIL ACTION NO. 4:20-CV-03939
HK044186J808 PETITION FOR                      §
EXONERATION FROM                               §
LIMITATION OF LIABILITY                        §
                                               §

                                          MONITION

       Notice is given that Petitioner Oil Mop LLC d/b/a OMI Environmental Solutions (“Oil

Mop”) filed a Verified Complaint and Petition for Exoneration from or Limitation of Liability

(“Complaint”), pursuant to pursuant to 46 U.S.C. § 30501 et seq. and Rule F of the Supplemental

Rules for Certain Admiralty and Maritime Claims of the Federal Rules of Civil Procedure, for

exoneration from or limitation of liability for all claims for any damages or injuries, arising out

of or occurring as a result of a battery explosion in the battery hatch of the Motorboat (the

“Vessel”), bearing hull Identification No. HK044186J808, at or near Saint Simon Sound,

Georgia on or about October 15, 2019, as more fully described in the Complaint.

       All persons having such claims must file their respective claims, as provided in

Supplemental Rule F of the Supplemental Rules for Certain Admiralty and Maritime Claims of

the Federal Rules of Civil Procedure, with the Clerk of this Court and must serve a copy thereof

on Petitioner’s attorney of record, Jad J. Stepp, 5300 Memorial Drive, Suite 620, Houston, Texas

77007, on or before January 25, 2021.

       If any claimant desires to contest either the right to exoneration from or the right to

limitation of liability, he shall file and serve on the attorneys for Petitioner an answer to the
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Complaint on or before the aforesaid date unless his claim has included an answer, so

designated.

       SIGNED this ____day of November 2020.



                                               ___________________________________
                                                      ANDREW M. EDISON
                                               UNITED STATES MAGISTRATE JUDGE
